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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                              NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                               SAN JOSE DIVISION
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                                  12     IN RE: QUALCOMM ANTITRUST                          Case No. 17-MD-02773-LHK
Northern District of California
 United States District Court




                                         LITIGATION
                                  13                                                        CASE MANAGEMENT ORDER
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                                       Plaintiff’s Attorneys: Kalpana Srinivasan, Mark Ram
                                  18   Defendant’s Attorney: Robert Van Nest
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                                              A case management conference was held on December 6, 2018. A further case
                                  20   management conference is set for April 24, 2019, at 2:00 p.m. The parties shall file their joint
                                       case management statement by April 19, 2019.
                                  21
                                                The Court ordered the parties to complete private mediation by March 1, 2019. The parties
                                  22   shall file a joint mediation status report by March 8, 2019.
                                  23
                                              The Court amended the case schedule as follows:
                                  24
                                         Scheduled Event                                           Date
                                  25
                                         Plaintiffs’ Rebuttal Expert Reports                       December 7, 2018
                                  26
                                         Close of Expert Discovery                                 December 28, 2018
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                                       Case No. 17-MD-02773-LHK
                                       CASE MANAGEMENT ORDER
                                         Case 5:17-md-02773-LHK Document 814 Filed 12/06/18 Page 2 of 2



                                         Last Day to File Dispositive Motions and Daubert    Motion: January 24, 2019
                                   1     (one dispositive motion per side, two Daubert       Opposition: February 21, 2019
                                   2     motions per side)                                   Reply: March 11, 2019
                                         Deadline to Complete Private Mediation              March 1, 2019
                                   3
                                         Deadline to File Joint Mediation Status Report      March 8, 2019
                                   4
                                         Hearing on Dispositive Motions                      April 4, 2019, at 1:30 p.m.
                                   5     Further Case Management Conference                  April 24, 2019, at 2:00 p.m.
                                   6     Final Pretrial Conference                           June 6, 2019, at 1:30 p.m.
                                   7     Jury Trial                                          June 24, at 9:00 a.m.

                                   8     Length of Trial                                     8 days

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                                       IT IS SO ORDERED.
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                                       Dated: December 6, 2018
                                  12
Northern District of California
 United States District Court




                                                                                     ______________________________________
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                                                                                     LUCY H. KOH
                                  14                                                 United States District Judge

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                                       Case No. 17-MD-02773-LHK
                                       CASE MANAGEMENT ORDER
